                    Case 3:11-cr-00195-HZ                                                  Document 3                 Filed 05/19/11                  Page 1 of 16


           Case 1:07-cr-00003-JAW Document 83                                                               Filed 05/16/11             Page 1 of 1 PagelD #: 337
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NAME ANDAODItESS OF PROBA TlONER I SUPERVISf.D RELEASEE:                                                DISTRICT                                      -
                                                                                                                                               DIVlS'ION

                                                                                                        District of Maine
Blake D. Hampe                                                      .....   - ._._--
                                                                                      OC:PUT't lJ.ltiJ.!'ot SENTENCING JUDGE
                                                                                                        John A, Woodcock, Chief U,S, District Judge
                                                                                                        DATES OF PROBATION I
                                                                                                                                               FROM                 TO
                                                                                                        SUPERVISED RELEASE:
                                                                                                                                               July 30, 2010        July 29, 2020

OFFENSE:


 18:2252A(a)(5)(B)&(b)(2) Possession of Child Pornography



PART I - ORDER TRANSFERRING JURISDICTION


UNITED STATES DISTRICT COURT FOR TIlE DISTRICT OF MAINE

                  IT IS HEREBY ORDERED that pursuant to 18 U.S,C, § 3605 the jurisdiction of the probationer
or supervised releasee named above be transferred with the records of the Court to the United States District Court
for the District of Oregon upon that Court's order of acceptance of jurisdiction,

This Court hereby expressly consents thatthe period ofprobatioD or supervised release may be changed by the
District Court to which this transfer is made without further inquiry of this Court,·




                ~ 'L.,.;,Mil
               Do
                                                                                                                      lR. U;t1J~ r·               <

                                                                                                                           United Stares District Judge

 *This sentence may be deleted at the discretion of the transferring Court.


PART 2 - ORDER ACCEPTING JURISDICTION                                                                                                  ~; ~~;~K. ,,,,y, "'.
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF OREGON                                                                                 ""~                        ~C<Y\. -
                                                                           l i -'- - \ Deputy Clerk ~
        IT IS HEREBY ORDERED that junsdictlOD over the above-named probatIOner/supervised releasee be
accepted and assumed by this court from and after the entry of this order,




                G-3> . ~ II
               Effective Date                                                                                          ~~-
      Case 3:11-cr-00195-HZ            Document 3        Filed 05/19/11        Page 2 of 16


 Case 1:07-cr-00003-JAW Document 17                Filed 01/17/07 Page 1 of 1        PagelD # : 27

                                                                               FIlED19 MAY'l113:35IJSDC·QRP

                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE
                                                                             u.s. DISTRICT COURT
                                                                               BANGOR. MAINE
UNITED STATES OF AMERICA                      )                              RECEIVED AND FILED

                                              ) C. • IN 0 117 .2 .pZO D1·JAN 11 P I:
                                                                 r-J-=W                         ~2
       v.                                     ) nmma o.
                                              ) (18 U.S.C. §§ 22S2A(a)(S)~) , 22S6(8)(A))
BLAKE D. HAMPE                                )                  .       B     DEPUTY CLERK
                                         INDICTMENT

       The Grand Jury charges:

                                          COUNT ONE

       On about September 27, 2006, in the District of Maine, defendant

                                      BLAKE D. HAMPE

knowingly possessed a computer and digital storage media that contained an image or images of

child pornography, specifically digital images and video files the production of which involved

the use of a minor engaging in sexually explicit conduct, that had been transported in interstate

and foreign commerce, and which were produced· using materials that had been mailed, shipped,

and transported in interstate and foreign commerce, by any means including by computer.

       In. violation of Title 18, United States Code, Section 22S2A(a)(S)(B) and 22S6(8)(A).




                                              A TRUE BILL,

                                                  SIGNATURE REDACTED
                                                           Original on File
        Case 3:11-cr-00195-HZ           Document 3   Filed 05/19/11     Page 3 of 16

          Case: 1:07-cr-00003-JAW         As of: 05/16/2011 03:48 PM EDT        1 of 8
                                                                                  CLOSED, VICTIM
                              U.S. District Court
                          District of Maine (Bangor)
              CRIMINAL DOCKET FOR CASE #: 1 :07-cr-00003-JAW-1
                                                       F!LED19 fF I ' 11 B35uSDC·QRP
 Case title: USA v. HAMPE
 Magistrate judge case nwnber: I :06~mj~00031 ~MJK

 Date Filed: 01117/2007
 Date Terminated: 05116/2008

 Assigned to: JUDGE JOHN A.
 WOODCOCK, JR

 Defendant III
 BLAKE D HAMPE                            represented by JEFFREY W. LANGHOLTZ
 TERMINATED: 0511612008                                  260 MAlN STREET
                                                         BIDDEFORD, ME 04005
                                                      283~4744
                                                      Email: langholtz@gwi.net
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Retained
A TRUE copy              CI rk
ATTEST: C;hrista K. Beny. e                           JEFFREY M. SILVERSTEIN
                 r :-.                                LAW OFFICE OF JEFFREY M. SILVERSTEIN,
                                                      PA
                                                      9 CENTRAL STREET
                                                      SllTE209
                                                      BANGOR, ME 04401
                                                      (207) 992~9158
                                                      Email;.;:~~~~f4!?;~~!aiL£Q!!l
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: CJA Appointment

 Pending Counts                                       Disposition
 l8:2252A.F POSSESSION OF
 CHILD PORNOGRAPHY                                    Defendant imprisoned for 41 months; 10 years
 18:2252A(a)(5)(B) and 2256(8)(A)                     supervised release; $100 special assesssment
 (I)

 Highest Offense Level (Opening)
 Felony

 Terminated Counts                                    Disposition
 None

 Highest Offense Level
 (Terminated)
 None

 Complaints                                           Disposition
 18:2252A.F ~ Transporting or
 shipping child pornography (Count I)
      Case 3:11-cr-00195-HZ              Document 3        Filed 05/19/11       Page 4 of 16

        Case: 1:07-cr-00003-JAW             As of: 05/16/2011 03:48 PM EDT              2 of 8
- I8:2252A(5)(B)Possession of child
pornography (Count II),


Plaintiff
USA                                                 represented by F. TODD LOWELL
                                                                   OFFICE OF THE U.S. AITORNEY
                                                                   DISTRlCT OF MAINE
                                                                   202 HARLOW STREET, ROOM III
                                                                   BANGOR, ME 04401
                                                                   207- 945- 0373
                                                                   Email: todd.lowel!@usdoj.~ov
                                                                   LEAD A1TORNEY
                                                                   A1TORNEY TO BE NOTICED

                                                                   JAMES L. MCCARTHY
                                                                   OFFICE OF THE U.S. AITORNEY
                                                                   DISTRICT OF MAINE
                                                                   202 HARLOW STREET, ROOM III
                                                                   BANGOR, ME 04401
                                                                   945- 0344
                                                                   Email: james.mccarthy@usdoj.gov
                                                                   TERMINATED: 0111812007
                                                                   LEAD A1TORNEY
                                                                   A1TORNEY TO BE NOTICED

 Date Filed       #        Docket Text
 0912812006                Arrest of BLAKE 0 HAMPE (bId, ) [1:06- mj- 00031 - MIK] (Entered:
                           09128/2006)
 09128/2006           1 COMPLAINT as to BLAKE 0 HAMPE. (jgw, ) [I :06-mj--{)0031 - MIK] (Entered:
                           09128/2006)
 09/28/2006           2 SYNOPSIS as to BLAKE 0 HAMPE (jgw, ) [1 :06--mj-00031-MIK] (Entered:
                           09/28/2006)
 0912812006           J. MOTION for Detention by USA as to BLAKE 0 HAMPE. (jgw, )
                           [1 :06--mj- 00031 - MJK] (Entered: 09128/2006)
 09/29/2006           5    Minute Entry for proceedings held before Judge JOHN A. WOODCOCK
                           JR.:lnitial Appearance held as to BLAKE 0 HAMPE, Attorney Appointment
                           Hearing held as to BLAKE 0 HAMPE; Preliminary Exam and Detention Hearing
                           to be scheduled. (Court Reporter Julie Edgecomb) (jgw, ) [I :06- mj- 00031 - MJK]
                           (Entered: 09129/2006)
 09/2912006           l! ORDER OF TEMPORARY DETENTION as to BLAKE 0 HAMPE Detention
                           Hearing set for 10/4/2006 01 :00 PM in Main Courtroom, Bangor before JUDGE
                           JOHN A. WOODCOCK JR. Preliminary Examination set for 10/4/2006 01 :00 PM
                           in Main Courtroom, Bangor before JUDGE JOHN A. WOODCOCK JR. By Judge
                           JOHN A. WOODCOCK JR. (jgw, ) [I :06-mj- 00031 - MJK] (Entered: 09129/2006)
 10/0412006           7    Minute Entry for proceedings held before Judge JOHN A. WOODCOCK JR.:Bond
                           Hearing held as to BLAKE 0 HAMPE, Bond set as to BLAKE 0 HAMPE (I)
                           $10,000 w/conditions - to be met prior to release, Preliminary Examination
                           Waived as to BLAKE 0 HAMPE (Court Reporter Julie Edgecomb) (bId, )
                           [1:06- mj- 00031 - MJK] (Entered: 10/04/2006)
 10/0412006           l! WAIVER of Preliminary Examination or Hearing by BLAKE 0 HAMPE (bId, )
                           Additional attachment(s) added on 10/4/2006 (bId,). [1:06-mj- 0003I-MJK]
                           (Entered: 10/0412006)
 10/0412006           :1   ORDER Setting Conditions of Release as to BLAKE 0 HAMPE. By Judge JOHN
                           A. WOODCOCK JR. (bId, ) [I :06- mj- 00031 - MJK] (Entered: 10/04/2006)
    Case 3:11-cr-00195-HZ        Document 3         Filed 05/19/11        Page 5 of 16

      Case: 1:07-cr-00003-JAW         As of: 05/16/2011 03:48 PM EDT               3 of 8
10/04/2006    Q8. Appearance Bond ( unsecured) as to BLAKE D HAMPE. (bId) Modified on
                    311112008 to correct filing date(bld). (Entered: 03/07/2008)
10/0612006     10   Unsecured Bond Made by BLAKE D HAMPE in amount of $ 10,000 w/conditions
                    (bId, ) [1 :06- mj- 0003 1- MJK] (Entered: 10/06/2006)
10/19/2006    11    MOTION to Waive Speedy Trial by BLAKE D HAMPE.Responses due by
                    1119/2006. (SILVERSTEIN, JEFFREY) [ 1:06- mj- 00031-MJK] (Entered:
                    10119/2006)
10119/2006     12   NOTICE OF ATTORNEY APPEARANCE: JEFFREY W. LANGHOLTZ
                    appearing for BLAKE D HAMPE (bId, ) [I :06- mj- 0003 1- MJK] (Entered:
                    10/19/2006)
10/20/2006    11    MOTION by Jeffrey Silverstein to W ithdraw as Attorney by BLAKE D
                    HAMPE.Responses due by 11113/2006. (SILVERSTEIN, JEFFREY)
                    [I :06- mj- 00031 - MJK] (Entered: 10/20/2006)
10/20/2006     14   ORDER granting.l1 Motion to Withdraw as Attorney. as to BLAKE D HAMPE
                    (l)Jeffrey Silverstein is no longer counsel of record. By Judge MARGARET J.
                    KRA VCHUK. (KRAVCHUK, MARGARET) [1 :06-mj- 0003 1-MJK] (Entered:
                    10/2012006)
10/20/2006     15   ORDER granting in part...l.l Motion to Waive Speedy Trial as to BLAKE D
                    HAMPE ( I). I infer from this pleading that Hampe is waiving his right to have this
                    matter presented to the Grand Jury within 30 days of his initial appearance. His
                    "waiver" is so noted. By Judge MARGARET J. KRA VCHUK. (KRAVCHUK,
                    MARGARET) [1 :06-mj-0003 1-MJK] (Entered: 10/20/2006)
01117/2007    11 INDICTMENT as to BLAKE D HAMPE (I) count 1. (gbc) (Additional
                    attachment(s) added on 1/6/20 11 : #~ Unredacted Document Available at the
                    Clerk's Office) (bId). (Entered: 01117/2007)
01117/2007    .lli SYNOPSIS as to BLAKE D HAMPE (gbc) (Entered: 01117/2007)
01119/2007     19   NOTICE OF HEARING as to BLAKE D HAMPE Arraigrunent set for 112512007
                    at 3 :00 PM in the Hearing Room, PORTLAND before MAG. JUDGE
                    MARGARET 1. KRAVCHUK. (gbc) (Entered: 01119/2007)
01125/2007    20    Minute Entry for proceedings held before Mag.Judge MARGARET J.
                    KRA VCHUK :Arraigrunent held as to BLAKE D HAMPE (I) Count I , Plea
                    entered: Not Guilty; Plea Accepted. Dft's bail continued. (Court Reporter FTR)
                    (sib,) (Entered: 01125/2007)
01 /25/2007   2.l ORDER IN RESPECT TO DISCOVERY as to BLAKE D HAMPE By Mag.Judge
                    MARGARET J. KRA VCHUK. Motions due by 2/8/2007. Ready for Trial on
                    3/5/2007. (sib,) (Entered: 01125/2007)
01126/2007    22    MOTION to Extend T ime by BLAKE D HAMPE.Responses due by 211612007.
                    (LANGHOLTZ, JEFFREY) (Entered: 01 /2612007)
0112612007    23    ORDER granting without objection 22 Motion to Extend Time as to BLAKE D
                    HAMPE (I) By Gail Baxter Creath, Deputy- in- Charge. (gbc) (Entered:
                    01 /26/2007)
0112612007          Reset Deadlines as to BLAKE D HAMPE: Motions due by 2120/2007 (Note: The
                    requested deadline of 2119/07 falls on a federal holiday). (gbc) (Entered:
                    0112612007)
01126/2007    24    TRIAL LIST as to BLAKE D HAMPE Jury Selection set for 3/612007 at 9:00 AM
                    in the Main Courtroom, Bangor before JUDGE JOHN A. WOODCOCK JR. On
                    the Trial List fo r 3/6/2007. Trial Briefs due by 2127/2007. (gbc) (Entered:
                    01126/2007)
02/1912007    22    MOTION to Suppress by BLAKE D HAMPE.Rcsponses due by 3/1212007.
                    (Attachments: # I Affidavit)(LANGHOLTZ, JEFFREY) (Entered: 02/1912007)
03/0812007    26    RESPONSE to~ MOTION to Suppress by USA as to BLAKE D HAMPE Reply
                    due by 3/19/2007. (Attachments: # I Exhibit A - Two Reports)(LOWELL, F .)
                    Modified on 3/8/2007 to temporarily seal until Government provides a redacted
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                    Exhibit A to remove personal identifiers. (gbc). Additional attachment(s) added on
                    3/9/2007 (gbc, ). Modified on 3/9/2007 to unseal (gbc, ). (Entered: 03/08/2007)
03/09/2007          NOTICE of Docket Entry Modification as to BLAKE 0 HAMPE regarding2.fi
                    Response to Motion: Exhibit A removed and replaced with Redacted Version (gbc)
                    (Entered: 03/09/2007)
0312012007    27    NOTICE OF HEARING ON MOTION Re:.22. MOTION to Suppress: as to
                    BLAKE 0 HAMPE. Motion Hearing set for 4/412007 0 I :30 PM in Magistrate
                    Courtroom, Bangor before MAG. JUDGE MARGARET J. KRA VCHUK. (CWP, )
                    (Entered: 03/20/2007)
03/2112007    28    NOTICE OF HEARING ON MOTION. Re:.22. MOTION to Suppress: as to
                    BLAKE 0 HAMPE. Motion Hearing HAS BEEN RESCHEDULED for 4/9/2007
                    01 :30 PM in Magistrate Courtroom, Bangor before MAG. JUDGE MARGARET J.
                    KRA VCHUK. (CWP,) (Entered: 03121 /2007)
04/09/2007    29    Minute Entry for proceedings held before Judge MARGARET J. KRA VCHUK
                    :Motion Hearing held as to BLAKE 0 HAMPE re.22. MOTION to Suppress fi led
                    by BLAKE 0 HAMPE; Counsel to inform court if additional testimony is
                    necessary prior to any order being issued (Court Reporter FTR) (bid, ) (Entered:
                    04/1012007)
04/0912007    30    COURT EXHIBIT LIST from Motion to Suppress held on 419/07 as to defendant
                    BLAKE 0 HAMPE (bId, ) (Entered: 0411 012007)
04/0912007    n     COURT WITNESS LIST from Motion to Suppress held on 4/9107 as to defendant
                    BLAKE 0 HAMPE (bId, ) (Entered: 0411 012007)
0411112007    ~     AMENDED SYNOPSIS as to BLAKE 0 HAMPE (LOWELL, F.) Modified on
                    4/12/2007 to correct title (gbc). (Entered: 0411l12007)
0411812007    13.   RECOMMENDED DECISION ON MOTION TO SUPPRESS as to BLAKE 0
                    HAMPE re~ MOTION to Suppress Objections to RRdue by 51712007 By Judge
                    MARGARET J. KRA VCHUK.. (gbc) (Entered: 04/19/2007)
0413012007    .:2.± OBJECTION to.;u Report and Recommended Decis ion by USA as to BLAKE 0
                    HAMPE (LOWELL, F.) (Entered: 04/30/2007)
04/30/2007          Set Deadlines in case as to BLAKE D HAMPE regardingll REPORT AND
                    RECOMMENDED DECISION re.22. MOTION to Suppress: Response to
                    Objection to Report and Recommendations due by 511712007. (mIm) (Entered:
                    0510 lI2007)
05118/2007    ~     TRANSCRIPT of Proceedings as to BLAKE 0 HAMPE Suppression Hearing held
                    on 4/912007 before Magistrate Judge Margaret J. Kravchuk. Court Reporter:
                    Brenda DeRoche, FTR. For a bound copy of this transcript, contact Brenda
                    DeRoche at 207- 945-0575.

                    NOTICE: -_. Trans,r'Ill, 'Ire NOT   rem()t~ly   ,lectronicallv ava ilable via PACER at
                    this time.

                    (gbe) (Entered: 05/2112007)
06114/2007    ~     MOTION to Modify Conditions of Release by BLAKE 0 HAMPE.Responses due
                    by 7/5/2007. (Attachments: #~ Exhibit Dr. Hasson letter)(LANGHOLTZ,
                    JEFFREY) (Entered: 06114/2007)
06119/2007          Reset Deadlines in case as to BLAKE 0 HAMPE regarding.l2 MOTION to
                    Modify Conditions of Release : Responses due by 7/5/2007. (bId, ) (Entered:
                    06119/2007)
06/1912007    37    ORDER AFFIRMING THE RECOMMENDED DECISION OF THE
                    MAGISTRATE JUDGE for.;u Report and Recommended Decision,.22. Motion to
                    Suppress fi led by BLAKE 0 HAMPE By Judge JOHN A. WOODCOCK JR. (gbc)
                    (Entered: 06119/2007)
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0611912007    :lli TRIAL LIST as to BLAKE D HAMPE Jury Selection set for 711012007 at 9:00
                   AM in thc Main Courtroom, Bangor before JUDGE JOHN A. WOODCOCK JR.
                   On the Trial List for 7/l0/2007.Trial Briefs due by 712/2007. (gbc) (Entered:
                   06119/2007)
06/28/2007    39   NOTICE OF HEARING as to BLAKE D HAMPE Change of Plea Hearing set for
                   7/27/200703:00 PM in Main Courtroom , Bangor before JUDGE JOHN A.
                   WOODCOCK JR.. The defendant will be required to identify every prescription
                   medication he is taking and to specify the dosage and frequency, purpose and
                   effects of the medication. (The same requirement applies to medications prescribed
                   but NOT taken, with an additional requirement that thc defendant explain why it
                   was not taken and the consequences of the failure to take it.) Failure to do so
                   satisfactorily may result in the judges refusal to accept the plea. Counsel may fmd
                   it convenient to use a written list for this purpose. Counsel shall file the
                   prosecution version and any pica agreement at least 2 business days prior to
                   the change of pica. (bid, ) (Entered: 06/28/2007)
06/28/2007    40   FILED IN ERROR: NOTICE OF HEARING as to BLAKE D HAMPE
                   Presentence Conference set for 7127/2007 03:00 PM in Main Courtroom, Bangor
                   before JUDGE JOHN A. WOODCOCK JR. (bId,) Modified on 7/5/2007 (gbc,).
                   (Entered: 06/28/2007)
07/03/2007    i l RESPONSE in Opposition by USA as to BLAKE D HAMPE re.12 MOTION to
                   Modify Conditions of Release Reply due by 711612007. (LOWELL, F.) (Entered:
                   07/03/2007)
07105/2007         NOTICE of Docket Entry Modification as to BLAKE D HAMPE regarding 40
                   Notice of Hearing of PSC : FILED IN ERROR. PSC WILL NOT BE HELD ON
                   7/27/07. THJS MATTER IS SET FOR CHANGE OF PLEA ONLY. (gbc)
                   (Entered: 07/05/2007)
07117/2007    42   NOTICE OF HEARING as to BLAKE D HAMPE Telephonc Conference set for
                   711912007 at 3: 15 PM before JUDGE JOHN A. WOODCOCK JR. (MFS)
                   (Entered: 07/1712007)
0711812007    43   MOTION for Release Pending Sentencing by BLAKE D HAMPE.Responses due
                   by 8/8/2007. (Attachments: #.1 Exhibit #.1 Exhibit #.1 Exhibit #~ Exhibit #.2-
                   Exhibit)(LANGHOLTZ, JEFFREY) Modified on 7119/2007 to correct title and
                   requested relief of motion (gbc, ). (Entered: 07118/2007)
07119/2007         NOTICE of Docket Entry Modification as to BLAKE D HAMPE regardin~
                   MOTION for Re lease Pending Sentencing : Title of Document Modified to Motion
                   for Release Pending Sentencing instead of Motion to Amend. (gbc) (Entered:
                   07119/2007)
07119/2007    44   NOTICE OF RESCHEDULED HEARING as to BLAKE D HAMPE Telephone
                   Conference reset for 7/20/2007 at 12:30 PM before JUDGE JOHN A.
                   WOODCOCK JR. (MFS) (Entered: 07119/2007)
07/20/2007    45   Minutc Entry for proceedings held before Judge JOHN A. WOODCOCK
                   JR. :Conference of Counsel held as to BLAKE D HAMPE (Atty Langholtz attended
                   via telephone). (Court Reporter Julie Edgecomb) (gbc) (Entered: 07/20/2007)
07/24/2007    12   PROSECUTION VERSION as to BLAKE D HAMPE (Attachments: #.1 Exhibit
                   A)(LOWELL, F.) Modified on 11120/2008 to indicate Exhibit A returned to USA
                   on 1112012008 (err). (Entered: 07124/2007)
07/24/2007    11   MOTION to Seal Exhibit A to Prosecution Version by USA as to BLAKE D
                   HAMPE. (gbc, ) Modified on 1112012008 to unseal (err). (Entered: 07/2412007)
07/2412007    48   ORDER granting.11 Motion to Seal as to BLAKE D HAMPE (I) By Judge JOHN
                   A. WOODCOCK JR. (gbc) Modified on 11 /20/2008 to unseal (err). (Entered:
                   07/24/2007)
07126/2007    49   NOTICE OF RESCHEDULED HEARING as to BLAKE D HAMPE Change of
                   Plea Hearing reset for 712712007 at 2:00 PM in the Main Courtroom, Bangor before
                   JUDGE JOHN A. WOODCOCK, JR. (gbc) (Entered: 07126/2007)
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07/26/2007    50   PROSECUTION VERSION Amended as to BLAKE D HAMPE (LOWELL, F.)
                   (Entered: 07/26/2007)
0712712007    51   Minute Entry for proceedings held before Judge JOHN A. WOODCOCK
                   JR.:Change ofplea Hearing held as to BLAKE D HAMPE, Guilty Plea entered;
                   Plea accepted. Presentence ConferencelSentencing to be scheduled after
                   1011212007. (Court Reporter Julie Edgecomb) (gbc) (Entered: 07/27/2007)
07127/2007    52   ORDER denying..1Q Motion to Modify Conditions of Release as to BLAKE D
                   HAMPE (I); denyin~ Motion for Release Pending Sentencing as to BLAKE D
                   HAMPE (I) By Judge JOHN A. WOODCOCK JR. (gbc) (Entered: 07/2712007)
07127/2007    53   Oral MOTION for order to u.s. Marshal and Bureau ofPrisons to allow the
                   defendant to receive nutritional supplements prescribed for him by his treating
                   physician by BLAKE D HAMPE. (gbc, ) (Entered: 07/27/2007)
07/2712007    54   ORAL ORDER granting 53 Oral Motion for order to U. S. Marshal and Bureau of
                   Prisons to allow defendant to receive nutritional supplements prescribed to him by
                   his treating physician as to BLAKE D HAMPE (I) By Judge JOHN A.
                   WOODCOCK JR. (gbc) (Entered: 07127/2007)
1011512007    55   NOTICE OF HEARING as to BLAKE D HAMPE Presentence Conference set for
                   11 / 1/2007 at 11:00 AM in Judge Woodcock's Chamhers before JUDGE JOHN A.
                   WOODCOCK JR. (MFS) (Entered: 10/15/2007)
11/0112007    56   Minute Entry for proceedings held before Judge JOHN A. WOODCOCK
                   JR. :Presentence Conference held as to BLAKE D HAMPE. The parties will file
                   Sentencing Memos. Once the Memos have been filed a telephone conference will
                   be scheduled to set a time for an evidentiary hearing. (Court Reporter Julie
                   Edgecomb) (MFS) (Entered: 11 /0112007)
11/01/2007         Set Deadlines as to BLAKE D HAMPE : Defendant's Sentencing Memo due by
                   12/3/2007; Government's Sentencing Memo due by 1211712007. (MFS) (Entered:
                   11/01/2007)
11129/2007    ~    MOTION to Extend Time by BLAKE D HAMPE Responses due by 12/20/2007.
                   (LANGHOLTZ, JEFFREY) (Entered: 11/29/2007)
11/3012007    58   ORDER granting without objection2I Motion to Extend Time to January 4, 2008
                   to file Sentencing Memorandum as to BLAKE D HAMPE (I). By Judge JOHN A.
                   WOODCOCK JR. (MFS) (Entered: 11/30/2007)
11/3012007         Reset Deadlines as to BLAKE D HAMPE: Defendant's Sentencing Memo (I) due
                   by 1/4/2008. Government's Sentencing Memo (2) due by 1118/2008. (MFS)
                   (Entered: 11 /30/2007)
01/0412008    22 MOTION to Extend Time by BLAKE D HAMPE Responses due by 112512008.
                   (LANGHOLTZ, JEFFREY) (Entered: 01/04/2008)
01/04/2008    60   MOTION to Seal by BLAKE D HAMPE Responses due by 1/25/2008.
                   (LANGHOLTZ, JEFFREY) Modified on 11/20/2008 to unseal (err). (Entered:
                   01/0412008)
0 1107/2008   61   ORDER granting.22 Motion to Extend Time to January 7, 2008 to file Sentencing
                   Memorandum as to BLAKE D HAMPE (I). By JUDGE JOHN A. WOODCOCK,
                   JR. (MFS) (Entered: 01/07/2008)
0 1/0712008   62   ORDER granting.QQ Motion to Seal Sentencing Memorandum and attachments as
                   to BLAKE D HAMPE (I). The Sentencing Memorandum and attachments will
                   remain sealed for 180 days following sentencing. By JUDGE JOHN A.
                   WOODCOCK, JR. (MFS) Modified on 1112012008 to unseal (err). (Entered:
                   01/07/2008)
01/07/2008         Reset Deadlines as to BLAKE D HAMPE Per Order of Court #61: Sentencing
                   Memo Deadline (I) due by 11712008. (err) (Entered: 01/07/2008)
01/07/2008    fi3. Sealed Document SENTENCING MEMORANDUM as to BLAKE DAVID
                   HAMPE (Sec #69 to view additional attachments (sealed). (err) Modified on
                   412 112008 to reference additional attachments (err). Modified on 11/2012008 to
    Case 3:11-cr-00195-HZ          Document 3         Filed 05/19/11        Page 9 of 16

       Case: 1:07-cr-00003-JAW         As of: 05/16/2011 03:48 PM EDT                70f8

                     unseal (err). (Entered: 0110812008)
01118/2008     64    Government's Response to Defendant's SENTENCING MEMORANDUM by USA
                     as to BLAKE D HAMPE (Attachments: #.1 Exhibit SI - Investigative Report
                     (ICE»(LOWELL, F.) (Entered: 01118/2008)
02/0512008     65    NOTICE OF HEARING as to BLAKE D HAMPE. Conference of Counsel set for
                     212712008 at 11 :00 AM in Judge Woodcock's Chambers before JUDGE JOHN A.
                     WOODCOCK JR. If counsel wish to have the conference of counsel by telephone,
                     please contact the Clerk's Office at 945- 0575 by 2125/2008. (MFS) (Entered:
                     02/05/2008)
02/27/2008     66    Minute Entry for proceedings held before JUDGE JOHN A. WOODCOCK,
                     JR:Conference of Counsel held as to BLAKE 0 HAMPE. (Court Reporter Julie
                     Edgecomb) (MFS) (Entered: 02/27/2008)
02/2712008     67    NOTICE OF HEARING as to BLAKE 0 HAMPE: Sentencing set for 5/I5/2008 at
                     9:00 AM in Main Courtroom, Bangor before JUDGE JOHN A. WOODCOCK JR.
                     (MFS) (Entered: 02/27/2008)
04/2112008     69    SEALED ADDITIONAL ATTACHMENTS reM Sealed Document -- First
                     Attached Document: 2/I3/07 letter from C . Ethan Lanpher (Attachments: #J.
                     4/3/07 letter from Jason Arentz, #.12/I 7/07 letter from Patti Ashley, Ph.D., #.1
                     3/I2/07 letter from Rev. William Henry, #..1 Rev. Henry - additional information
                     and resume, #.2 2124/07 letter from Jason Blalack, M .S., L.Ac., #..fi 4/25/07 letter
                     from Shawn P. Hughes, #~ undated letter from Karla Ottero, #.B. second undated
                     letter from Karla Ottero, #.2. 12/26/07 letter from Katherine J. M inton, Ph.D.,
                     M.S.Ed, #.lQ 12/I 8/07 letter from David Hampe, #.11 6/8/07 letter from Dr. David
                     J. Hasson, #J.l Curriculum Vitae ofCarold J. Ball, Ph.D., #.ll 12/10/07 Final
                     report of Carol Ball, Ph.D.)(err) Modified on 11120/2008 to unseal (err). (Entered:
                     0412112008)
05/I4/2008     70    NOTICE OF RESCHEDULED HEARING (time change only) as to BLAKE D
                     HAMPE. Sentencing reset for 5/I 5/2008 at 10:00 AM in Main Courtroom, Bangor
                     before JUDGE JOHN A. WOODCOCK JR. (MFS) (Entered: 05/I4/2008)
05/ 15/2008    71    Minute Entry for proceedings held before JUDGE JOHN A. WOODCOCK,
                     JR:Sentencing held on 5/I5/2008 as to BLAKE D HAMPE. Defendant imprisoned
                     for a period of 41 months, 10 years supervised release and $100.00 special
                     assessment. Defendant remanded to the custody of the U.S. Marshal. (Court
                     Reporter Julie Edgecomb) Ggw) (Entered: 05/1512008)
05/I5/2008     72    COURT EXHIBIT LIST from Sentencing held on 5/I5/08 as to defendant(s)
                     BLAKE D HAMPE Ggw) (Entered: 05/15/2008)
05/I5/2008     n     COURT WITNESS LIST from Sentencing held on 5/I5/08 as to defendant(s)
                     BLAKE D HAMPE Ggw) (Entered: 05/15/2008)
05/I6/2008     ~     JUDGMENT as to BLAKE 0 HAMPE (I), Count(s) I, Defendant imprisoned for
                     4 1 months; 10 years supervised release; $100 spccial assesssment. Defendant
                     remanded to the custody of the US Marshal By JUDGE JOHN A. WOODCOCK,
                     JR. (err) (Entered: 05/I 6/2008)
05/2112008     7.2   MOTION to Amend Judgment.l4 by BLAKE 0 HAMPE Responses due by
                     6/I 112008. (LANGHOLTZ, JEFFREY) Modified on 5122/2008 to include link to
                     the j udgmentGgw). (Entered: 05/2112008)
06/11/2008     76    RESPONSE to..7.2 MOTION to Amend Judgment 74 by USA as to BLAKE 0
                     HAMPE Reply due by 6/23/2008 . (LOWELL, F.) (Entered: 06/I 112008)
06/25/2008     77    NOTICE OF HEARING as to BLAKE 0 HAMPE. Telephone Conference set for
                     612612008 at 2:00 PM before JUDGE JOHN A. WOODCOCK JR. AUSA Lowell
                     will initiate the call to Chambers and counsel. (MFS) (Entered: 06125/2008)
06/26/2008     78    Minute Entry for proceedings held before JUDGE JOHN A. WOODCOCK,
                     JR :Telephone Confercnce held as to BLAKE 0 HAMPE. (Court Reporter Julie
                     Edgecomb) (MFS) (Entered: 06126/2008)
   Case 3:11-cr-00195-HZ       Document 3        Filed 05/19/11      Page 10 of 16

      Case: 1:07-cr-00003-JAW       As of: 05/16/201 1 03:48 PM EDT            8 of8
06/26/2008    79 ORDER denyinw Motion to Amend Judgment for the reasons stated on the
                   record at the time of the 6/26/2008 telephone conference as to BLAKE D HAMPE
                   (l). By JUDGE JOHN A. WOODCOCK, JR. (MFS) (Entered: 06126/2008)
07/13/2008    ~    SATISFACTION OF JUDGMENT filed by USA as to BLAKE D HAMPE
                   (ROTH, EVAN) (Entered: 07/13/2008)
11120/2008    81   EXHIBIT A to #46 Prosecution Version as to BLAKE D HAMPE Returned to
                   USA (err) (Entered: 11120/2008)
11120/2008    82   EXHIBITS from 4/9107 suppression hearing and 5/ 15/08 sentencing hearing as to
                   BLAKE D HAMPE Returned to USA (err) (Entered: 11120/2008)
05/16/20 11   .8.3. Supervised Release Jurisdiction Transferred to USDC- Oregon as to BLAKE D
                   HAMPE Transmitted Transfer of Jurisdiction form, with certified copies of
                   indictment, judgment and docket sheet. (j Ig) (Entered: 05/16/201 1)
                    Case 3:11-cr-00195-HZ                  Document 3     Filed 05/19/11         Page 11 of 16


             Case 1:07-cr-00003-JAW Document 74                   Filed 05/16/08 Page 1 of 6             PagelD #: 324
AD 245B (Rev. 06/05) Judgment in a Criminal Case
         Shcct 1



                                        . . d         . . r41~~~ICT CGlJRT
                                       Untte  States DIStrict 'fMf1\!E1J" MAINE . .
                                                           District ofMaine                        E AND FllE9
                                                                                ZOOB IIAY I h _A
                    UNITED STATES OF AMERICA                          JUDGMENT IN A CRIMINABf:. a:a.SE
                                          v.                                          BY
                                                                                        I 01FEpPiiuii'\
                                                                                                    - y'-;:;;-;=:-_
                              BLAKE D. HAMPE                       Case Number: 1:07-CR-03-6o{lERK
                                                                   USM Number: lll16-0~6
                                                                   Entered on Docket: S/Jt.>!() f
                                                                                Jeffrey W. Langholtz
                                                                                      Defendant's Attorney


THE DEFENDANT:
[gJ pleaded guilty to count(s) I of the Indictment
o pleaded nolo contendere to count(s) _ _which was accepted by the court.
o was found guilty on count(s) _ _after a plea of not guilty.
The defendant is adjndicated guilty of these offeuses:

Title & Section                        Nature of Offense             Offense Ended                      Count
IS:2252A(a)(5)(B) & (b)(2)             Possession of Child           9/27/2006                          1
                                       Pornography




The defendant is sentenced as provided io pages 2 through 6 ofthis judgment. The sentence is imposed pursuant to the
Sentenciog Reform Act of 1984.

o The defendant has been found not guilty on count(s) _ _.
o Count(s) _ _ 0 is 0 are dismissed on the motion of the United States.
It is ordered that the defendant must notify the United States attorney for this district withio 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant shall notify the court and United States attorney of material changes in economic
circumstances.

                                                                              May 15, 200S
                                                                              Da ofImposition of Ju gment


             ATRUe CO",Y
             ATTEST: C ietl! K. Berry, Clerk
                                                                              John A. Woodcock Jr., U .S. District Judge
                                                                              Name and Title of Judge
              BY: ~~~~¥~-'
                    Deputy Clerk
                    Case 3:11-cr-00195-HZ               Document 3        Filed 05/19/11   Page 12 of 16


             Case 1:07-cr-on003-.IAW Document 74                    Filed 05/16/08 Page 2 of 6     PagelD #: 325
AO 2459 (Rev. 06/O5) Judgment in a C'rimmal Case
        Sheet 2 - Imprisonmem
                                                                                           Judgment Page   2   of   6
 DEFENDANT:                  BLAKE D. HAMPE
 CASE NUMBER:                I :07-CR-03-001

                                                           IMPRISONMENT

     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 41 months.

[8J The court makes the following recommendations to the Bureau of Prisons:
     The defendant should be exposed to the Sex.offender Treatment Program, but in doing so recommends that the
     Bureau of Prisons take into account the expert opinions as set forth during the 5115/08 sentencing hearing in
     determining the treatment program.

[8J The defendant is remanded to the custody of the United States Marshal.

o    The defendant shall surrender to the United States Marshal for this district,
     o          at _ _ 0 a.m. 0 p.m. on _ _.
     o          as notified by the United States Marshal.

o    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
     o          before 2 p.m. on _ _ .
     o          as notified by the United States Marshal.
     o          as notified by the Probation or Pretrial Services Office.

                                                               RETURN

     I have executed this judgment as follows:




     Defendant delivered on                              to
at                                       with a certified copy of this judgment.




                                                                                     UNITED STATES MARSHAL


                                                                             By _ _~====~==~~~~~~
                                                                                      DEPUrY UNITED STATES MARSHAL
                                                                                                                        __
                      Case 3:11-cr-00195-HZ                       Document 3              Filed 05/19/11               Page 13 of 16


               Case 1:07-cr-00003-JAW Document 74                                Filed 05/16/08 Page 3 of 6                       PagelD #: 326
 AD 2458 (Rev. 06/05) Judgment in a Criminal Case
           Shcct 3 - Supervised Release
                                                                                                                       Judgment   Page   3      of    6
     DEFENDANT:                 BLAKE D. HAMPE
     CASE NUMBER:               1:07-CR-03-001

                                                               SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of I 0 years.

The Defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody ofthe Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
additional drug tests during the term of superviSion, but not more than 70 drug tests per year thereafter, as directed by the
probation officer. (Check, if applicable.)

o The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
      substance abuse. (Check, if applicable.)
~The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
~The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
OThe defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is
  a student, as directed by the probation officer. (Check, if applicable.)
OThe defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as any additional conditions
on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)     the defendant shall report to the probation officer and shan submit a truthful and· complete written report within the first five days of each month;
3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)     the defendant shall support his or her dependents and meet other family responsibilities;
5)     the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable reasons;
6)     the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, usc, distributc or administer any controlled substance or any
       paraphernalia related to any controlled substances, except as prescribed by a physician;

8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9)     the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony unless
       granted pennission to do so by the probation officer;

10)    the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
       observed in plain view by the probation officer;

11)    the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)    the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the pennission of the
       court; and

13)    as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
       personal history or characteristics, and shall pennit the probation officer to make such notifications and to confinn the defendant's compliance with
       such notification requirement.
                     Case 3:11-cr-00195-HZ                 Document 3            Filed 05/19/11            Page 14 of 16


               Case 1:07-cr-00003-JAW Document 74                        Filed 05/16/08 Page 4 of 6                PagelD #: 327
AO 245B (Rev. 06105) Judgment in a Crimina] Case
        Sheet 3A - Supervised Release
                                                                                                          Judgment Page    4        of   6
 DEFENDANT:                  BLAKE D. HAMPE
 CASE NUMBER:                1:07-CR-03-001

                                          ADDITIONAL SUPERVISED RELEASE TERMS

          1.       The defendant shall DOt use or possess any controlled substance or intoxicants (to include alcohol); and shall participate in a
                   program of drug and alcohol abuse therapy to the satisfaction of the supervising officer. This shall include testing to
                   determine if the defendant has made use of drugs or intoxicants. The defendant shan submit to one test within 15 days of
                   release from imprisonment and at least two additional tests during the term of supervision, but not more than 70 tests per
                   calendar year thereafter, as directed by the probation officer. The defendant shall pay/co-pay for services provided during
                   the course of such treatment to the supervising officer's satisfaction. The defendant shall refrain from obstructing or
                   attempting to obstruct or tamper, in any fashion, with the efficiency or accuracy of any testing for drugs or intoxicants;

         2.        Defendant shall not possess or use a computer to access an "online computer se~ce" at any location. including his
                   employment, without prior approval of the U.S. Probation Office. This includes any Internet service provider, bulletin board
                   system or any other public or private computer network;

         3.        Defeudant shall consent to the U.S. Probation Office conducting periodic unannounced examinations of his computer(s)
                   equipment, which may include hardware, software, and copying of all data from his computer(s). This also includes removal
                   of such equipment, when necessary, for the purpose of conducting a more thorough examination;

         4.         The defendant shall at all times readily submit to a search of his residence, and of any other premises under his dominion
                   and control, by his supervising officer, upon the officer's request when the officer has reasonable basis to believe that such a
                   search will lead to the discovery of evidence of the defendant's violation of the terms ofms supervised release, including
                   pornographic materials which the defendant is prohibited from possessing under the rules of his sex offender treatment
                   program. Failure to submit to such a search may be grounds for revocation;

         5.        If required under state or Federal law, the defendant shall register with the state sex offender registration agency in any state
                   where the defendant resides, is employed, carries on a vocation, or is a student.

         6.        Defendant shall provide personal and business telephone records to the U.S. Probation Officer as directed;

         7.        The defendant shall fully participate in sex offender treatment as directed by the supervising officer. He shan scrupulously
                   abide by all policies and procedures of that program. During the course of sex offender treatment, the defendant shall, if
                   required by the therapeutic program, be subject to periodic and random polygraph examinations to ensure compliance with
                   the requirements of me therapeutic program. No violation proceedings will arise solely on a defendant's failure to pass a
                   polygraph examination nor on the defendant's refusal to answer polygraph questions based on 5 th Amendment grounds. The
                   Court directs the supervising officer to consider the opinions and recommendations of the defendants expert witnesses in
                   determining the correct treatment program for the defendant.
                      Case 3:11-cr-00195-HZ                     Document 3                Filed 05/19/11          Page 15 of 16

              Case 1:07-cr-00003-JAW Document 74                                 Filed 05/16/08 Page 5 of 6               PagelD #: 328
AO 2458                                                    (Rev. 06/05) ~udgmenl in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                                  Judgment-Page   5     of   6
 DEFENDANT:                    BLAKE D. HAMPE
 CASE NUMBER:                  I :07-CR-03-001

                                                    CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                     Assessment                                                                   Restitution
 Totals:                                                              $100.00                                   $0.00                            $0.00


o The dctennination of restitution is deferred until                . An Amended Judgment in a Criminal Case (AO 245C) will be entered after such
    detennination.

o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the
priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the
United States is paid.

N arne of Payee                                   Total Loss·                         Restitution Ordered                    Priority or Percentage
                                                                $                                      $




TOTALS                                 $                                         $ _ - -- - - -

D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a floe of more than $2,500, unless the restitution or floe is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

o     The court detennined that the defendant does not bave the ability to pay interest and it is ordered that:

      o    the interest requirement is waived for the           0    fine             0    restitution.

      o    the interest requirement for the         0   floe                0   restitution is modified as follows:


• Findings for the total amount oflosses are required under Chapters 109A, II 0, 1I0A, and I13A of Title 18, Un ited States Code, for offenses
committed on or after September 13, 1994 but before April 23, 1996.
                      Case 3:11-cr-00195-HZ                  Document 3            Filed 05/19/11            Page 16 of 16

              Case 1:07-cr-00003-JAW Document 74                          Filed 05/16/08 Page 6 of 6                  PagelD #: 329
AO 245B (Rev. 06/05) Judgment in a Criminal Case
        Sheet 6 - Schedule of Payments
                                                                                                           Judgment-Page     6       of    6
    DEFENDANT:                BLAKE D. HAMPE
    CASE NUMBER:              1:07-CR-03-001

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as fol lows:


A     [gI   Lwnp sum payment of$100.00 due immediately, balauce due
      18I   Any amount that the defendant is unable to pay now is due and payable during the term of incarceration. Upon release from
            incarceration, any remaining balance shall be paid in monthly installments, to be initially determined in amount by the supervising
            officer. Said payments are to be made during the period of supervised release, subject always to review by the sentencing judge on
            request, by eIther the defendant or the government.
            o   not later than                                  , or
            o   in accordauce with 0 C, 0 D, or               0       E, or 0 F below; or

B     0     Payment to begin immediately (may be combined with           0    C,     0    D, or   0    F below); or

C     0     Payment in equal             (e.g., weekly, monthly, quarterly) installments of $           over a period of
                                 (e.g., months or years), to commence               (e.g., 30 or 60 days) after the date of this judgment; or

D     0     Payment in equal             (e.g., weekly, monthly, quarterly) installments of$            over a period of
                                 (e.g., months or years), to commence               (e.g., 30 or 60 days) after release from imprisonment to a
            tenn of supervision; or

E     0     Payment during the term of supervised release will commence within        (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant" s ability to pay at that time; or

F     0     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetarypenaltles, except those payments made through the Federal Bureau of Prisons' lrunate Financial
Responsibility Program, are made to the clerk ofthe court,
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




o     Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
      corresponding payee, if appropriate:




D     The defendant shall pay the cost of prosecution.
o     The defendant sball pay the following court C08t(8):

o     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) flne principal, (5) fine
interest, (6) commwuty restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
